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       FIL ED
 AO 91 (Rev. 11/11) Criminal Complaint
                                         UNITED STATES DISTRICT COURT
                                                                               SAUSA Sarah Finch (312) 353-5305

         /2025
          4/9                            NORTHERN DISTRICT OF ILLINOIS
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                         COURT                EASTERN DIVISION
             IS T R IC
  CLERK, U.S
 UNITED STATES OF AMERICA
                                                        CASE NUMBER: 25CR191
                         v.

 JASON W. PANIAGUA

                                             CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
                                                  COUNT ONE
On or about March 27, 2025, at Chicago, IL, in the Northern District of Illinois, Eastern Division, the
defendant(s) violated:
      Code Section                                    Offense Description
      Title 18 United States Code, Section            By intimidation, took from the person and presence of
      2113(a)                                         a bank employee approximately $340 in United States
                                                      currency belonging to, and in the care, custody,
                                                      control, management and possession of Citibank, 69
                                                      W. Washington Street, Chicago, Illinois, the deposits
                                                      of which were then insured by the Federal Deposit
                                                      Insurance Corporation.

                                                  COUNT TWO
On or about April 8, 2025, at Chicago, IL, in the Northern District of Illinois, Eastern Division, the
defendant(s) violated:
      Code Section                                    Offense Description
      Title 18 United States Code, Section            By intimidation, took from the person and presence of
      2113(a)                                         a bank employee approximately $100 in United States
                                                      currency belonging to, and in the care, custody,
                                                      control, management and possession of Citibank, 69
                                                      W. Washington Street, Chicago, Illinois, the deposits
                                                      of which were then insured by the Federal Deposit
                                                      Insurance Corporation.
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This criminal complaint is based upon these facts:
     X   Continued on the attached sheet.
                                                           /s/ Alex Stadheim (MDW w/ permission)
                                                        ALEX STADHEIM
                                                        Special Agent, Federal Bureau of Investigation
                                                        (FBI)



Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The above-
named agent provided a sworn statement attesting to the truth of the Complaint and Affidavit by telephone.

 Date: April 9, 2025            11:55am
                                                                      Judge’s signature

 City and state: Chicago, Illinois                   M. DAVID WEISMAN, U.S. Magistrate Judge
                                                                Printed name and title
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                   AFFIDAVIT

      I, ALEX STADHEIM, being duly sworn, state as follows:

      1.     I am a Special Agent with the Federal Bureau of Investigation (FBI),

and have been so employed for eight years. My current responsibilities include the

investigation of violent crimes, including, among others, kidnapping, bank robbery,

and the apprehension of violent fugitives.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that JASON W. PANIAGUA has violated Title 18 United States Code, Section

2113(a).   Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging PANIAGUA

with bank robbery, I have not included each and every fact known to me concerning

this investigation. I have set forth only the facts that I believe are necessary to

establish probable cause to believe that the defendant committed the offense alleged

in the complaint.

      3.     This affidavit is based on my personal knowledge, information provided

to me by other law enforcement agents, information that appears in law enforcement

records, interviews of witnesses, my review of surveillance videos and images, my

training and experience, and the experience of other law enforcement agents.
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I.    FACTS SUPPORTING PROBABLE CAUSE

      A.     Summary of Probable Cause

      4.     In summary, and as described further below, based on surveillance video

and images, witness interviews, and law enforcement’s investigation, there exits

probable cause to believe that on March 27, 2025, and April 8, 2025, JASON W.

PANIAGUA robbed the Citibank located at 69 W. Washington Street in Chicago,

Illinois. Law enforcement identified PANIAGUA after the first robbery through

surveillance video and interviews with those he encountered after the robbery,

including a cab driver. On April 8, 2025, PANIAGUA was arrested immediately

following the second robbery and confessed to the second robbery.

      B.     March 27, 2025 Robbery of the Citibank

      5.     According to still images from Citibank, on March 27, 2025, at

approximately 12:39 p.m., an individual later identified as JASON W. PANIAGUA,

robbed the Citibank Bank located at 69 W. Washington Street in Chicago, Illinois.

PANIAGUA wore sunglasses, a black hat, a white face covering, a white hooded

sweatshirt, a gray long sleeve shirt, a blue polo shirt, dark blue pants, and gray shoes.

Photos taken from surveillance video at the Citibank are provided below:




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            1.    Account of Victim Teller 1

      6.    According to Victim Teller 1, PANIAGUA entered the bank through the

main doors on the east side of the bank and approached Victim Teller 1. Victim

Teller 1 asked how s/he could assist him. PANIAGUA said words to the effect of,

“Give me everything in the top drawer, you’ve got three seconds to give me

everything.” Victim Teller 1 immediately understood PANIAGUA’s demand to

indicate the bank was being robbed. PANIAGUA tapped his right hand on the




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counter, which Victim Teller 1 interpreted to mean he was holding something or

wanted to show him/her something. Victim Teller 1 refused to look down at his right

hand on the counter because s/he did not want to see what he was holding. Victim

Teller 1 was afraid it might be a firearm.

      7.     According to Victim Teller 1, s/he tried to access the cash in his/her teller

drawer. PANIAGUA told him/her that s/he was taking too long and needed to act

more quickly. Victim Teller 1 replied with words to the effect of, “I’m nervous, give

me a second.” PANIAGUA demanded 100- and 50-dollar bills. Victim Teller 1 tried to

access his/her lower drawer, which contained larger bills, knowing s/he did not have

much money in the top, but PANIAGUA instructed him/her not to reach for the lower

drawer.

      8.     According to Victim Teller 1, s/he took what cash was available in the

top drawer and tossed it to PANIAGUA across the counter. PANIAGUA asked how

much money it was, and Victim Teller 1 replied that s/he did not know. PANIAGUA

then turned and walked slowly toward the door while possibly counting the money.

Victim Teller 1 activated the silent alarm. According to a bank audit, PANIAGUA

received approximately $340. The Citibank deposits were insured by the Federal

Deposit Insurance Corporation at the time of the robbery.

      9.     According to Victim Teller 1, PANIAGUA exited on foot to Dearborn

Street, walked north on Dearborn Street to the corner of the bank, then turned and

walked west on Washington Street.




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             2.    Surveillance Photos

      10.    Surveillance     cameras   captured   PANIAGUA      walking    west    on

Washington Street and continuing south on Clark Street.

      11.    Surveillance cameras captured PANIAGUA go inside a synagogue,

discard his dark blue pants and emerge with different colored pants.               Law

enforcement recovered the discarded pants on the ground outside of 16 North Clark

Street on March 27, 2025. 1




      12.    Law enforcement recovered a blue shirt and black hat, matching the

blue shirt and black hat worn by PANIAGUA during the robbery, from the ground

near the doors of 77 West Washington Street on March 27, 2025. Based on the

surveillance photos of the robbery below, I believe PANIAGUA wore the blue shirt

inside out during the bank robbery.




1 Pictures of the subject emerging with different pants were taken from the reviewed
surveillance cameras located at 20 S. Clark Street. The security company is working on
providing the original video due to their servers being down at the time of review.



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      13.   Surveillance video captured PANIAGUA continue south on Clark Street

wearing light blue pants and a grey suitcoat and then turn west on Monroe Street at

approximately 12:44 p.m. From a distance, a camera captured PANIAGUA enter a

Yellow Cab at approximately 12:46 p.m. The cab was identified by surveillance

cameras as cab number 304.




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      14.    The trip details and GPS coordinates of Yellow Cab #304 near Clark and

Monroe Street detailed a pickup on March 27, 2025, at 12:46 p.m. at 120 W. Monroe

Street and drop-offs near Harvey and South Holland, Illinois.

             3.     Account of Driver of Yellow Cab #304

      15.    According to the cab driver of Yellow Cab #304, on March 27, 2025, at

approximately 12:45 p.m., approximately six minutes after the bank robbery, the cab

driver was driving east on Monroe Street, when a hotel doorman near 122 W. Monroe

Street flagged down the cab driver. The doorman opened the door for a white male

(passenger), who the cab driver described as approximately 6’0” tall, approximately

50 years of age, wearing a white long sleeve shirt. The passenger was not wearing a

mask or sunglasses and did not have a bag with him.

      16.    According to the cab driver, the passenger asked the cab driver to drive

him to Lansing, Illinois, and they agreed on a flat rate of $60, which the passenger

paid with three $20 bills.

      17.    According to the interior and exterior video from Yellow Cab #304, a

passenger, later identified as PANIAGUA, entered the cab at approximately

12:46 p.m. The recording shows PANIAGUA counting money, which he shows to the

cab driver. PANIAGUA can be heard telling the cab driver that he has a lot of cash.




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       18.   According to the cab driver, at PANIAGUA’s direction, s/he drove south

on Clark, west on Congress, got onto the I-90 Dan Ryan, then I-57, and got off at147th

Sibley Boulevard. The cab driver then stopped at a liquor store near 154th and

Broadway in Harvey, Illinois. The cab driver recalled the door said “15401” on it. The

cab driver identified a Google image of One Stop Food & Liquor, located at 168 East

154th Street in, Harvey, Illinois, as the liquor store where he had stopped.

       19.   According to the cab driver, PANIAGUA asked the cab driver to wait for

him. PANIAGUA went into the liquor store and came out with a small bag.

PANIAGUA was gone approximately five to ten minutes. PANIAGUA asked the cab

driver to drive him to Lansing, Illinois, and paid the cab driver another $10 with two

$5 bills.

       20.   According to the cab driver, PANIAGUA directed the cab driver to a

motel approximately one-mile past Halsted Street, which the cab driver identified as

the Starlite Motel, located at 466 West 162nd Street in South Holland, Illinois.

       21.   PANIAGUA said he was meeting someone and asked the cab driver to

wait for him. PANIAGUA went inside the motel and came back to the cab



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approximately ten minutes later. PANIAGUA said he changed his mind and was not

going to Lansing, Illinois anymore. The cab driver left PANIAGUA at the motel and

drove back to Chicago, Illinois.

      22.    Yellow Cab #304 video contained interior and exterior cameras which

corroborated the cab driver’s account of the route. According to the recording,

PANIAGUA explained to the cab driver that he was from New York and owned a lot

of properties in Chicago and he needed to make some stops to “pick up rent.”

             4.     One Stop Food & Liquor

      23.    On March 27, 2025, video at One Stop Food & Liquor captured

PANIAGUA entering the store and making a purchase with cash, as detailed above.




      24.    Video shows that PANIAGUA then exited One Stop Food & Liquor and

re-entered Yellow Cab #304, which was waiting outside for PANIAGUA.

      25.    On March 28, 2025, an employee of One Stop Food & Liquor identified

the individual who entered One Stop Food & Liquor from Yellow Cab #304 on March

27, 2025 as “Cracker Jack.” The employee did not know “Cracker Jack’s” real name.

             5.     Starlite Motel Video

      26.    Video from the Starlite Motel captured PANIAGUA enter the Starlite

Motel on March 27, 2025 at approximately 1:37 p.m., check-in, and stay the night in



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a room. According to the Starlite Motel owner, the motel does not require a guest to

show identification when checking in, rather, they sign-in on the guest login sheet.

PANIAGUA signed in using the name “Joseph A. Diniggued.”               Starlite Motel

surveillance captured the following images:




      C.     Harvey Police Department Identification

      27.    On March 28, 2025, at approximately 5:19 p.m., the FBI received a call

from the owner of One Stop Food & Liquor who stated s/he had just seen the

individual the FBI was inquiring about at the store. Surveillance video from the store

showed a person who resembles PANIAGUA at the store at approximately 5:19 p.m.

on March 28, 2025:




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       28.    The FBI contacted the Harvey Police Department (“HPD”) and shared a

photo of the bank robber from the bank surveillance footage. HPD officers arrived at

One Stop Food & Liquor, but the individual was gone. At approximately 9:30 p.m. on

March 28, 2025, HPD contacted the FBI again and stated they received another call

from the owner stating that the individual was back at the store. Two HPD officers

stopped the individual who matched the description at the PACE bus stop located at

15338 Park Avenue in Harvey. HPD officers conducted an interview of the individual,

who self-identified as JASON W. PANIAGUA. 2

       D.     FBI Identification

       29.    The following facts have led me to conclude PANIAGUA is the person

who committed the robbery on March 27, 2025. First, I have reviewed photographs

from PANIAGUA’s Chicago Police Department arrest photo (December of 2022),

driver’s license photo (issued April of 2019), Lansing Police Department Body Worn

Camera footage (August of 2022), and Homewood Police Department Body Worn

Camera footage (September of 2024 and November of 2024), and concluded that

PANIAGUA is the person in the bank robbery surveillance video on March 27, 2025.

       30.    Additionally, the bank robbery video depicts PANIAGUA wearing a

sweatshirt with the letter “MY” near the neckline. The Starlite Motel video depicts

PANIAGUA wearing a sweatshirt with the same lettering:




2 HPD officers did not turn on their body worn camera during the interaction.




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      31.     The bank robbery video also depicts PANIAGUA wearing grey colored

shoes with white soles. The Starlite Motel video depicts PANIAGUA wearing the

same shoes:




      32.     PANIAGUA was arrested by the Homewood Police Department on

November 19, 2024. In the body-worn camera footage, PANIAGUA identifies himself

as JASON PANIAGUA and PANIAGUA has a noticeable scar on the right side of his

forehead.



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     33.   This scar is also noticeable in PANIAGUA’s arrest booking photo, dated

December 9, 2022:




     34.   The same scar is visible on Starlite Motel surveillance images:




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         E.    Citibank Robbery April 8, 2025

         35.   According to still images from Citibank, on April 8, 2025, at

approximately 10:10 a.m., an individual later identified as JASON W. PANIAGUA,

again robbed the Citibank Bank located at 69 W. Washington Street in Chicago.

PANIAGUA wore sunglasses, a gray face covering, a black hat, a white hooded

sweatshirt, and dark pants. Photos of PANIAGUA at the Citibank are provided

below:




               1.    Account of Bank Teller

         36.   According to a bank teller, PANIAGUA entered the bank using the doors

on Dearborn Street and approached the teller window. After the robbery on March

27, 2025, photos of the bank robber had been distributed to bank employees. The bank



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teller was standing behind the teller window and immediately recognized the person

who entered the bank on April 8, 2025, as the bank robber from March 27, 2025. The

bank teller specifically recognized the sunglasses. The bank teller hit the silent alarm

and left her station to tell her superiors.

             2.     Accounts of Victim Tellers 1 & 2

      37.     According to Victim Teller 1, PANIAGUA then moved to another teller

line and approached Victim Teller 1 who was standing next to Victim Teller 2. Victim

Teller 1 asked how s/he could assist PANIAGUA. PANIAGUA stated, “Give me all

your money, you have three seconds” and started counting down. Victim Teller 2

opened the drawer and PANIAGUA told Victim Teller 2 s/he had three seconds.

Victim Teller 2 handed over a bunch of five-dollar bills.

      38.     According to Victim Teller 1, PANIAGUA said he knew the bank had

more money. Victim Teller 1 then said they did not have more money because the

branch had just opened. Victim Teller 2 stated they had coins if he wanted coins.

      39.    According to Victim Teller 1, PANIAGUA had a cardboard toilet paper

roll in his right hand acting as if it was a firearm. PANIAGUA then took the cash and

exited, using the door on Dearborn Street, and walked west on Washington Street.

      40.    According to Victim Teller 1, PANIAGUA’s mask partially fell down, but

Victim Teller 1 did not get a good look at his face.

      41.    According to Victim Teller 2, Victim Teller 2 was working the window

along with Victim Teller 1 when PANIAGUA approached. Victim Teller 2 also




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recognized PANIAGUA as the person who robbed the bank on March 27, 2025, from

photos of the bank robber distributed to employees.

      42.      According to Victim Teller 2, PANIAGUA said to give him all the money

in the drawers. PANIAGUA placed his hand in his hoodie implying he had a weapon.

Victim Teller 2 saw that it was a paper towel roll.

      43.      According to Victim Teller 2, Victim Teller 2 opened the drawer and gave

him a bundle of five-dollar bills, Victim Teller 2 knew the total was $100. PANIAGUA

counted the money and asked for more at which point another bank employee stated

they just opened. Victim Teller 2 then stated he could get money out of the machine,

but it would take a while.

      44.      According to Victim Teller 2, PANIAGUA then left the bank. Victim

Teller 2 recalled PANIAGUA being over six feet tall, over fifty years of age, had dirty

teeth that needed work, wearing large rainbow-colored sunglasses and two hooded

sweatshirts.

               3.    Arrest of PANIAGUA

      45.      The manager of the bank followed PANIAGUA as he exited the bank.

The manager saw PANIAGUA enter a white cab. Chicago Police arrived at the bank

shortly thereafter, and the manager pointed out the white cab, number 3731. Chicago

Police pulled over the cab. The robber, in the back seat, and was detained and self-

identified as JASON W. PANIAGUA. PANIAGUA had fifty dollars in five-dollar bills

on him. Fifty dollars in five-dollar bills also were retrieved from the cab driver, who

stated PANIAGUA had paid him in cash for the fare.




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      46.    Victim Teller 1 was taken to conduct a show-up but was unable to

identify PANIAGUA as the robber.

      47.    After PANIAGUA ’s arrest, Victim Teller 2 was taken to conduct a show-

up. When Victim Teller 2 was approximately six meters away, Victim Teller 2 stated

s/he was seventy to eighty percent sure it was the individual who robbed the bank.

Victim Teller 2 asked to get closer to PANIAGUA, and then stated s/he recognized

PANIAGUA’s teeth and recognized PANIAGUA’s voice. Victim Teller 2 asked what

money PANIAGUA had on him, a Chicago Police Department officer said it was all

five-dollar bills. Victim Teller 2 then said he was 100% certain PANIAGUA was the

individual that robbed the bank earlier that day.

      48.    On April 8, 2025, a photo-lineup was conducted with the Yellow Cab

driver of cab #304, who identified PANIAGUA with 80 percent certainty.

      49.    A light white/cream sweatshirt worn by the bank robber was recovered

on the street near the curb at 20 North Clark Street, Chicago, Illinois shortly after

the bank robbery.

             4.     Interview of PANIAGUA

      50.    On April 8, 2025, law enforcement conducted an audio and video

recorded interview of PANIAGUA. PANIAGUA was read his Advice of Rights prior

to the interview. PANIAGUA understood his rights and agreed to waive those rights.

PANIAGUA stated, among other things:

             a.     He robbed the Citibank located at 69 West Washington Street on

April 8, 2025, at approximately 10:10 a.m. because he needed money. PANIAGUA




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had lost his job at Wal-Mart. PANIAGUA arrived at the bank from Lansing, Illinois

via Uber using a friends account. PANIAGUA did not have a phone.

            b.      PANIAGUA entered the bank and demanded money. PANIAGUA

could not recall specifically what he said but he held an item in his right hand to

make it look like he had a gun to get employees to comply. PANIAGUA received

approximately $100 and fled the bank. PANIAGUA got into a taxi and was then

caught. PANIAGUA wore a white sweatshirt but could not recall what he did with it,

possibly he left it in the cab. PANIAGUA was shown a photo of the bank robber from

April 8, 2025, PANIAGUA stated that was him (PANIAGUA) in the photo conducting

the bank robbery.

            c.      PANIAGUA denied conducting the bank robbery on March 27,

2025, described above.

            d.      PANIAGUA was shown a photo of PANIAGUA at the Starlite

Motel. PANIAGUA admitted it was him in the photo.




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II.     CONCLUSION

        51.   Based on the information above, I respectfully submit that there is

probable cause to believe that on or about March 27, 2025 and April 8, 2025, JASON

W. PANIAGUA did, by intimidation, take from the person or presence of another,

money, namely United States Currency, belonging to and in the care, custody, control,

management, or possession of Citibank, the accounts of which are insured by the

Federal Deposit Insurance Corporation in violation of Title 18, United States Code,

Section 2113(a).




                                        FURTHER AFFIANT SAYETH NOT.
                                          /s/ Alex Stadheim (MDW w/ permission)
                                        ALEX STADHEIM
                                        Special    Agent, Federal       Bureau      of
                                        Investigation


SWORN TO AND AFFIRMED BY telephone on April 9, 2025.


Honorable M. DAVID WEISMAN
United States Magistrate Judge




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